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 8                               IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Plaintiff,                      MAG. 04-0252 GGH

12           vs.

13   HECTOR JAVIER MANRIQUEZ,

14                  Defendant.                      ORDER
                                             /
15

16                  After overnight consideration of the detention issues in this case, the undersigned

17   believes that the potential for flight is not sufficiently mitigated by the proposed conditions of

18   pretrial release. Defendant Manriquez faces deportation, if convicted, and the evidence is clear at

19   this point in demonstrating guilt; thus, he has little real, economic incentive to await the outcome

20   of trial only to be deported after years in prison. While the court does not declare to a certainty

21   that this defendant would flee, if released, as he does have family and economic ties to the

22   Sacramento area, the government’s burden is a preponderance, and that burden has been met.

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 1                      Defendant Manriquez is therefore ordered detained pending resolution of his

 2   criminal case.

 3   DATED: 6/1/05
                                                     /s/ Gregory G. Hollows
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                                                     GREGORY G. HOLLOWS
 5                                                   UNITED STATES MAGISTRATE JUDGE
     manriquez252.ord
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